
PER CURIAM.
This is a petition for writ of habeas corpus. Petitioner’s court-appointed counsel failed to file a timely notice of appeal, which failure constitutes ineffective assistance of counsel. State v. Meyer, 430 So.2d 440 (Fla.1983) and Farmer v. State, 462 So.2d 82 (Fla. 4th DCA 1985).
We grant the petition and thereby allow petitioner a belated appeal. Baggett v. Wainwright, 229 So.2d 239 (Fla.1969) and Hollingshead v. Wainwright, 194 So.2d 577 (Fla.1967).
Granted.
LETTS, DELL and WALDEN, JJ., concur.
